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      TRACY L. WILKISON
1     Acting United States Attorney
      DAVID M. HARRIS
2     Assistant United States Attorney
      Chief, Civil Division
3     ABRAHAM C. MELTZER
      Assistant United States Attorney
4     Chief, Civil Fraud Section
      ROSS M. CUFF                                             08/03/2021
5     Assistant United States Attorney
      Deputy Chief, Civil Fraud Section
6     JACK D. ROSS
                                                                   smom



      Assistant United States Attorney
7     California State Bar No. 265883
            Room 7516, Federal Building
8           300 N. Los Angeles Street
            Los Angeles, California 90012
9           T: 213.894.7395|F: 213.894.7819
            Email: jack.ross@usdoj.gov
10
      Attorneys for the United States of America
11
                                 UNITED STATES DISTRICT COURT
12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                      WESTERN DIVISION
14
      UNITED STATES OF AMERICA ex                      No. CV 19-02900-MWF (MRWx)
15    rel. [UNDER SEAL],
                                                       ORDER RE UNITED STATES’
16               Plaintiff[s],                         ELECTION TO DECLINE
                                                       INTERVENTION
17                      v.
                                                       [FILED UNDER SEAL PURSUANT TO
18    [UNDER SEAL],                                    THE FALSE CLAIMS ACT, 31 U.S.C.
                                                       §§ 3730(b)(2) AND (3)]
19               Defendant[s].
                                                       [FILED/LODGED CONCURRENTLY
20                                                     UNDER SEAL: (1) UNITED STATES’
                                                       NOTICE OF ELECTION TO DECLINE
21                                                     INTERVENTION]
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      TRACY L. WILKISON
1     Acting United States Attorney
      DAVID M. HARRIS
2     Assistant United States Attorney
      Chief, Civil Division
3     ABRAHAM C. MELTZER
      Assistant United States Attorney
4     Chief, Civil Fraud Section
      ROSS M. CUFF
5     Assistant United States Attorney
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6     JACK D. ROSS
      Assistant United States Attorney
7     California State Bar No. 265883
            Room 7516, Federal Building
8           300 N. Los Angeles Street
            Los Angeles, California 90012
9           T: 213.894.7395|F: 213.894.7819
            Email: jack.ross@usdoj.gov
10
      Attorneys for the United States of America
11
12                             UNITED STATES DISTRICT COURT
13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                    WESTERN DIVISION
15    UNITED STATES OF AMERICA and                     No. CV 19-02900-MWF (MRWx)
      the STATE OF CALIFORNIA ex rel.
16    YVONNE HUEMOELLER, and                           ORDER RE UNITED STATES’
      YVONNE HUEMOELLER,                               ELECTION TO DECLINE
17    individually,                                    INTERVENTION
18               Plaintiffs,                           [FILED UNDER SEAL PURSUANT TO
                                                       THE FALSE CLAIMS ACT, 31 U.S.C.
19                      v.                             §§ 3730(b)(2) AND (3)]
20    PACIFIC TOXICOLOGY                               [FILED/LODGED CONCURRENTLY
      LABORATORIES; ROCCO                              UNDER SEAL: (1) UNITED STATES’
21    LANZALOTTA; PARADIGM                             NOTICE OF ELECTION TO DECLINE
      LABORATORIES, LLC; ETHAN                         INTERVENTION]
22    SASZ; VANTARI MEDICAL, LLC;
      VANTARI GENETICS, LLC;
23    GENETIC TECHNOLOGICAL
      INNOVATIONS, LLC; PACIFIC
24    GENOMICS, LLC; NICHOLAS
      ARROYO; REHAB ARIZONA, LLC;
25    YURY GAMPEL; ARIZONA FAMILY
      PHYSICIANS, LLC; GREGORY
26    ELLISON, M.D.; PAINSTOPCLINICS,
      LLC; BLUE SQUARE RESOLUTIONS,
27    LLC; NICHOLAS GLIMCHER;
      ADVANCED RX MANAGEMENT,
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                                                   2
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      INC.; DISPENSEDOC, INC.; CHAD
1     BEENE; TRU COMPOUNDING RX,
      LLC; and JARED SIMMONS, ESQ.,
2
                  Defendants.
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4           The United States of America (“United States”) having declined to intervene in
5     the above-captioned action pursuant to the Federal False Claims Act, 31 U.S.C. §
6     3730(b)(4)(B), IT IS HEREBY ORDERED THAT:
7           1.     Once the Court unseals this case, the Complaint, this Order, and the United
8     States’ Notice of Election to Decline Intervention shall both be unsealed, and the Relator
9     shall serve all three upon the defendants;
10          2.     All other contents of the Court’s file in this action, filed and lodged to date,
11    shall remain permanently under seal and shall not be made public or served upon any
12    defendant or other party or person;
13          3.     The parties shall serve all pleadings, notices, motions, orders, and other
14    papers hereafter filed or lodged in this action, including supporting memoranda and any
15    notice of appeal, upon the United States as provided for in 31 U.S.C. § 3730(c)(3); and
16          4.     Should the Relator or defendants propose that this action be dismissed,
17    settled, or otherwise discontinued, the parties shall provide the United States with notice
18    of the same and the Court will provide the United States with an opportunity to be heard
19    before ruling or granting its approval.
20          IT IS SO ORDERED.
21
22     Dated: August 3, 2021                            ________________________________
23                                                      MICHAEL W. FITZGERALD
                                                        UNITED STATES DISTRICT JUDGE
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